EXHIBIT |
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Northern Division)

DAVID J. BOSHEA eg
is
Plaintiff, *
Hf Case No. 1:21-CV-00309-ELH
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COMPASS MARKETING, INC, *
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Defendant, i
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DEFENDANT COMPASS MARKETING, INC’S ANSWERS TO PLAINTIFF DAVID J.
BOSHEA’S FIRST SET OF INTERROGATORIES

Defendant Compass Marketing, Inc. (“Defendant” or “Compass”), by and through its
undersigned counsel and pursuant to Rule 33 of the Federal Rules of Civil Procedure and the Local
' Rules of this Court, hereby responds to the First Set of Interrogatories propounded by Plaintiff
David J. Boshea (“Plaintiff’ or “Boshea’’), as follows:

GENERAL OBJECTIONS

The following General Objections are part of the response to each and every Interrogatory
and are set forth here to avoid the duplication of restating each General Objection in each specific
response. ‘The General Objections may be specifically referred to in responses to certain
Interrogatories for the purpose of clarity. However, the failure to specifically incorporate a General
Objection into a response should not be construed as a waiver of any of the General Objections.

A. Compass objects to each Interrogatory to the extent that it seeks to impose
obligations on Compass that are inconsistent with or greater than the obligations imposed by the
Federal Rules of Civil Procedure, any other applicable law, or any court order that governs

discovery in this case.
B. Compass objects to each Interrogatory to the extent that it seeks information that is
not discoverable under applicable law.

Cc. Compass objects to each Interrogatory to the extent that it is over broad, unduly
burdensome, or vexatious.

D. Compass objects to each Interrogatory to the extent that it is vague and ambiguous
or it does not describe the information sought with sufficient particularity.

E, Compass objects to each Interrogatory to the extent that it seeks information that is
neither relevant to the issues raised in this lawsuit nor reasonably calculated to lead to the discovery
of admissible evidence. Nothing herein shall be construed as an admission by Compass with
respect to the admissibility or relevance of any fact or document, or as an admission of the truth

or accuracy of any characterization, description, or definition contained in Boshea’s

Interrogatories.
F, Compass objects to each Interrogatory to the extent that it is cumulative.
G. Compass objects to each Interrogatory to the extent that Boshea has not provided

sufficient information regarding the specific factual and/or legal bases of his claims to allow
Compass to respond to the Interrogatory.

H. Compass objects to each Interrogatory to the extent that it seeks information that is
subject to the attorney-client, work product, or other privilege, immunity or protection under any
and all applicable law.

I Compass objects to each Interrogatory to the extent that it is not limited in

geography, time, or scope, or, if there is such a limitation, the limitation is not reasonable.
J. Compass objects to each Interrogatory to the extent that it seeks information that is
not within Compass’ possession, custody, or control and to the extent that it requires Compass to
respond on behalf of persons or entities not under Compass’ control,

K. Compass objects to each Interrogatory to the extent that it seeks information
contained in electronic documents, including email, and the effort to restore or otherwise retrieve
such electronic documents imposes and undue burden on Compass in terms of time and expense,
among other things, that is inconsistent with or greater than the obligations imposed by the Federal
Rules of Civil Procedure, any other applicable law, or any court order that governs discovery in
this case. To the extent that Compass is obligated to restore or otherwise retrieve such electronic
documents, Compass reserves the right to recover costs associated with such effort from Boshea.

L, In addition to the objections listed above, Compass reserves the right to make
further objections and assertions of privilege as applicable.

PRELIMINARY STATEMENT

1, The information supplied in these responses is not based solely upon the knowledge
of the executing party, but includes the knowledge of the party’s agents, tepresentatives, and
attorneys, unless privileged.

2. The word usage and sentence structure are that of the attorney(s) who in fact
prepared these responses and the language does not purport to be the exact language of the
executing party.

3. The Interrogatories have been interpreted and answered in accordance with the
Federal Rules of Civil Procedure, plain English usage and, to the extent not specifically challenged

by objection, the definitions and instructions included with the Interrogatories,
4, Compass reserves the right to amend or supplement these responses as new material
is discovered.

5. As a threshold matter, Compass is limited in its ability to provide information
potentially responsive to Plaintiffs’ Interrogatories. In or about July 2019, Michael White, who
had been terminated from employment in November 2018, together with his son, George White,
as administrators of Compass domain for electronic communications and documents,
compassmarketinginc.com (the “.com domain”), prevented and continues to prevent Compass
from accessing the records in the .com domain. Indeed, after July 2019, Compass had to create a
new domain, compassmarketinginc.net, and at great effort and expense migrate its operations and
communications networks to this new domain. Compass has had access to some incoming
communications to the .com domain since July 2019 and will include those communications in its
search for potentially responsive information.

RESPONSES TO INTERROGATORIES
Interrogatory No. 1: Identify each person whom the Defendant believes has or may have
knowledge of the facts and circumstances alleged in the Complaint, the Affirmative Defenses the
Defendant filed in this action, or both. For each person so identified, describe the information and
knowledge the Defendant believes such person possesses as to each of the Interrogatories set forth
below.

Response; Compass objects to Interrogatory No. 1 on the grounds that it is vague and
ambiguous in that it is not clear how Compass can identify who “may have” knowledge of
facts and circumstances alleged in the Complaint. Subject to and without waiving these
objections, Compass responds as follows:

David Boshea — Plaintiff.

Julie Boshea — Plaintiffs wife (who may now be an ex-wife) —Plaintiff used her email

address at times to correspond with Compass and, therefore, she possesses relevant

documents and information regarding Plaintiff’s claims and the lack of merit thereof.

Rebecca Obarski ~ Plaintiffs counsel — 222 South Mill Street, Naperville, Illinois 60540,

(630) 355-8100, attorney with Nagle, Obarski & Holzhauer, P.C. — Represented Boshea in

this dispute prior to current counsel and has knowledge and information regarding the lack
of an executed agreement upon which Boshea’s claims are premised.

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Michael White — current owner of Compass and former Compass executive — 39650
Hiawatha Circle, Mechanicsville, Maryland, (301) 481-5986, Orphan’s Court Judge for St.
Mary’s County, Maryland — While employed at Compass, Michael White had oversight
over personnel management and payroll. He would have been informed as to all the details
of Boshea’s hire and compensation package for administrative purposes, including the lack
of a severance agreement of the kind described by Plaintiff. Michael White also
participated in the decision in or about September 2015 to offer Boshea and other
employees the option to reduce their compensation or be terminated from employment.

George White — former Compass employee — 15125 Woodville Road, Waldorf, Maryland
20601, (240) 419-2340, Ist Sgt. Maryland State Police - George White was the network
administrator for Compass and also managed the timecard system. George White would
have knowledge of Boshea’s hiring because he administered Boshea’s timecards, set up
his email address, and set him up with a laptop.

Daniel White — current owner of Compass and former Compass executive — 21900 Fairway
Drive, Leonardtown, Maryland 20650, (240) 298-8156, Deputy State’s Attorney for St.
Mary’s County, Maryland — Daniel White was legal counsel for Compass at the time of
Boshea’s hiring. The terms of Boshea’s compensation and employment package would
have been communicated to Daniel White so that he could draft the applicable employment
contracts. Later, Daniel White also participated in the decision in or about September 2015
to offer Boshea and other employees the option to reduce their compensation or be
terminated from employment.

John White — CEO of Compass — As the CEO of Compass, John White had the final
approval on all hiring and compensation decisions. John White has full knowledge of
Boshea’s compensation package(s) and employment terms for the duration of his
employment with Compass. John White also participated in the decision in or about
September 2015 to offer Boshea and other employees the option to reduce their
compensation or be terminated from employment. John White also participated in the
decision in 2020 to terminate Boshea’s employment.

Jerry Cain — current President of Compass - Participated in the decision in 2020 to
terminate Boshea’s employment.

Erin Songer — current Chief Administrative Officer of Compass — Has knowledge of the
termination of Boshea’s employment in 2020, including issuance of his final paycheck,
rollover of his 401(k), and miscellaneous post-employment wrap-up details.

Lou Fernandez — current SVP and Controller of Compass — Participated in the decision in
2020 to terminate Boshea’s employment.

Dayna Acevedo — former Chief of Staff at Compass — 422 Porpoise Lane, Riva, Maryland
21140, (717) 383-1170 — Managed all personnel files; has knowledge of employment and
severance contracts for Compass employees.
James Columbus (also known as “Chip”) DiPaula — former EVP at Compass — 1249
Algonquin Road Crownsville, Maryland 21403 — 410-279-8564 — As a senior executive,
Chip DiPaula has knowledge of the terms of various employment agreements of Compass
employees, including Boshea, whom Chip DiPaula supervised.

John Greenwood — former Art Director at Compass ~ 842 Stonehurst Court, Annapolis,
Maryland 21409 — (410) 271-2881 — Has knowledge of the terms of his Compass
employment agreement.

Alisa Greenwood — former Marketing Manager at Compass ~ 842 Stonehurst Court,
Annapolis, Maryland 21409 — (410) 241-7903 — Has knowledge of the terms of her
Compass employment agreement.

Gary Panebianco — former VP Sales at Compass ~ 777 Springbloom Drive, Millersville,
Maryland 21108 (443) 623-2083 - Has knowledge of the terms of his Compass
employment agreement.

Jamie Nash — former Director Ecommerce at Compass — 501 East Prairie Avenue,
Lombard, Ilinois 60148 — (708) 296-0866 — Has knowledge of the terms of his Compass
employment agreement.

Kevin Van Deusen — former Analyst at Compass — 8100 Main Creek Road, Pasadena,
Maryland 21122 (443) 299-7938 — Has knowledge of the terms of his Compass
employment agreement.

John Mancini — former Sr Account Executive at Compass — 108 Little Bridge Road,
Hanover, Pennsylvania 17331 — (717) 465-5645 — Has knowledge of the terms of his
Compass employment agreement,

Alex McCord — former VP Ecommerce at Compass — 1204 Basil Court, Belair, Maryland
21014 — (410) 268-0030 — Has knowledge of the terms of his Compass employment
agreement.

Jonathan Staples — current CIO at Compass — has knowledge of the terms of his Compass
employment agreement.

Drew Rayman — former Managing Director Marketing at Compass — 1 Columbus Place,
Apt. N30B New York, New York 10019 — (917) 699-9133 — Has knowledge of the terms
of his Compass employment agreement.

Shanda Trogdon — current Sales Executive at Compass — Has knowledge of the terms of
her Compass employment agreement.

Prank Pellegrino — current Account Manager at Compass — Has knowledge of the terms of
his Compass employment agreement.
Marty Monserez — current President Sales at Compass — Has knowledge of the terms of his
Compass employment agreement.

John Adams — current Senior Account Executive at Compass — Has knowledge of the terms
of his Compass employment agreement.

Jesse Williams — current VP Inside Sales at Compass — Has knowledge of the terms of his
Compass employment agreement.

Interrogatory No. 2: Identify all Persons involved in or possessing knowledge concerning the
negotiations or discussions occurring before the Defendant’s employment of Boshea regarding the
terms of any severance or termination amounts Boshea would accrue or be entitled to receive after
Boshea’s termination without cause.

Response: See response to Interrogatory No. 1.

Interrogatory No. 3: Identify all agreements between Boshea and the Defendant concerning the
terms of Boshea’s employment.

Response: Compass objects to Interrogatory No. 3 on the grounds to the extent that it seeks
information that is not relevant to the claims in this lawsuit, as not every agreement
necessarily concerns matters related to an alleged severance agreement. In addition, sce
General Objection K and Preliminary Statement 5. Subject to and without waiving these
objections, Compass responds as follows:

In 2015, Compass offered Boshea (and other employees) either a reduction in his
compensation or termination from employment. Boshea accepted the reduction in
compensation and, as reflected in the offer, the modification to his compensation
superseded any prior agreement(s) regarding his compensation.

Interrogatory No. 4: State all reasons for the Defendant’s termination of Boshea’s employment.

Response: Compass objects to Interrogatory No. 4 on the grounds that it is vague and
ambiguous and it secks information that is not relevant to the claims in this lawsuit. Subject
to and without waiving these objections, Compass responds as follows:

Boshea’s employment was terminated for the reasons set forth in the March 3, 2020 letter
(which is included with Compass’ document production), confirming his termination of
employment.
Inierrogatory No. 5: Identify all facts that support the Defendant’s affirmative defense
that Boshea’s claims are barred in whole or in part by unclean hands.

Response: Compass objects to Interrogatory No. 5 on the grounds that it is vague and
ambiguous, In addition, see General Objection K and Preliminary Statement 5. Subject to
and without waiving these objections, Compass responds as follows:

The alleged contract upon which Boshea relies (Exhibit A to the Complaint) was never
executed. The signature that appears on Exhibit A above John White’s typed name was
not placed there by John White and was not authorized by John White. Moreover, prior to
filing this lawsuit, Boshea admitted (through counsel) that he did not have a signed copy
of Exhibit A (this document is included in Compass’ document production). Based on
these facts, cither Boshea or someone collaborating with Boshea forged the alleged
employment agreement for John White without his authorization.

Interrogatory No. 6: Identify all facts that support the Defendant’s affirmative defense
that Boshea’s claims are barred in whole or in part by fraud.

Response: See response to Interrogatory No. 5.

Interrogatory No. 7: Identify all facts that support the Defendant’s affirmative defense
that Boshea’s claims are barred in whole or in part by estoppel.

Response: See response to Interrogatory No. 5. In addition, to the extent that the agreement
Boshea relies on in bringing these claims (Exhibit A to the Complaint) was entered into
and binding at any point in time, the provisions concerning compensation, including any
severance, were superseded by the 2015 agreement, which reduced Boshea’s
compensation. Please see the terms of the 2015 agreement.

Interrogatory No. 8: Identify all bona fide disputes between Boshea and the Defendant.

Response: See response to Interrogatory No. 7.

Interrogatory No. 9: Identify all breaches by Boshea of any agreement between Boshea
and the Defendant.

Response: Compass objects to Interrogatory No. 9 on the grounds that it is vague and
ambiguous. In addition, see General Objection K and Preliminary Statement 5. Subject to
and without waiving these objections, Compass responds as follows:
Boshea breached his employment agreement with Compass by, among other things, failing
to show up for work, attending work-related meetings intoxicated, and losing his driver’s
license due to multiple drunk driving incidents.

Interrogatory No. 10: Identify all facts and bases for the Defendant’s denial of the
allegations contained in paragraph 19 of the Complaint.

Response: See response to Interrogatory No. 9.
Certification

I certify that I have read the foregoing answers and know the contents thereof: that said
answers are based upon and, therefore, limited by, the information available to and thus far
discovered by me; that I reserve the right to amend the answers if it appears to me at any time that
omissions or errors have been made therein or that more accurate information has become
available; and that subject to the limitations set forth herein, the answers are true to the best of my
knowledge, information, and belief.

  

Dated: August 9, 2021 Sees vA
John White
CEO? Compass Marketing, Inc.

As to objections:

Respectfully submitted,

/s/ Stephen B. Stern

Stephen B. Stern, Bar No.: 25335

Heather K. Yeung, Bar No.: 20050

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Counsel for Defendant
Compass Marketing, Inc.

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 9"" day of August, 2021, that a true and correct copy of

the foregoing Responses to Plaintiff's First Set of Interrogatories was served upon the following

counsel of record via email:

Thomas J. Gagliardo

Gilbert Employment Law, PC
1100 Wayne Avenue, Suite 900
Silver Spring, MD 20910

Email: tgagliardo@ gelawyer.com

and

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Attorneys for Plaintiff
David Boshea

/s/ Stephen B. Stern
Stephen B. Stern

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